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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  AIDS VACCINE ADVOCACY
  COALITION, et al.,

                   Plaintiffs,
                                                         Civil Action No. 25-cv-400 (AHA)
            v.

  UNITED STATES DEPARTMENT OF
  STATE, et al.,

                   Defendants.


  GLOBAL HEALTH COUNCIL, et al.,

                   Plaintiffs,
                                                         Civil Action No. 25-cv-402 (AHA)
            v.

  DONALD J. TRUMP, et al.,

                   Defendants.


  DEFENDANTS’ STATUS REPORT UNDER MINUTE ORDER OF MARCH 17, 2025

       1.        Defendants hereby respond to the inquiries in the Court’s Minute Order of March

17, 2025, and provide updates regarding their processing of payments to foreign assistance funding

recipients for work completed prior to February 13, 2025.

       2.        As of yesterday, the total number of such payments by Defendants to Plaintiffs

processed since March 10, 2025 was 146, and the total number of such payments by Defendants

to non-Plaintiffs processed since March 10, 2025 was 2,047. In sum, Defendants have therefore

processed 2,193 payments between March 10 and March 18, which amounts to approximately 313

payments per business day, in line with this Court’s metric.




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       3.      The total number of such payments which remain to be processed for Plaintiffs is

540, and the total number of such payments which remain to be processed for non-Plaintiffs is

9,678. There are therefore over 10,000 payments remaining to be processed.

       4.      Defendants’ proposed timeline for processing the remaining payments is as

follows: Defendants expect to process the remaining payments to Plaintiffs by March 21, 2025,

and the remaining payments by April 29, 2025. In the aggregate, those dates are in line with this

Court’s metric of 300 payments per day.

       5.      Consistent with that proposed timeline, Defendants will file a status report on

March 27, 2025 regarding the status of payments to Plaintiffs.

       6.      Defendants note that the associational Plaintiffs have not provided Defendants with

a complete list of all of their members, which makes it impossible to provide precise figures about

the breakdown between Plaintiff and non-Plaintiff amounts due. Further, some pending requests

for payment do not distinguish between work performed before February 13, 2025, and work that

was performed thereafter (such as in connection with close-out). That also makes it impossible to

provide precise figures aligned with the Court’s inquiries. Finally, Defendants note that some

funding recipients have not provided complete documentation concerning their work completed

prior to February 13, 2025, which is among the reasons why faster processing is not feasible.




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Dated: March 19, 2025                   Respectfully submitted,
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                                        /s/ Indraneel Sur
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